51 F.3d 270
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Samuel WHALEY, Plaintiff-Appellant,v.Earl D. BESHEARS, Warden;  Jerry Bloodsworth, Officer;  HalThomas, Sergeant;  Shawn Jackson, Hearing Officer,Defendants-Appellees.
    No. 94-7457.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 15, 1995.Decided April 5, 1995.
    
      Samuel Whaley, appellant pro se.  John Joseph Curran, Jr., Attorney General, Audrey J.S. Carrion, Office of the Attorney General of Maryland, Baltimore, MD, for appellees.
      Before RUSSELL and WILLIAMS, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Whaley v. Beshears, No. CA-94-1545-S (D. Md. Nov. 28, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    